                                UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF OREGON

In re                                      )   Case No. _________________
                                                         18-31644-pcm11
                                           )
Sunshine Dairy Foods Management,           )   NOTICE OF PRELIMINARY
LLC                                        )   HEARING ON MOTION
                                           )     FOR USE OF CASH COLLATERAL
                                           )     TO OBTAIN CREDIT
Debtor(s)                                  )   (Check One)

YOU ARE NOTIFIED THAT:
                                       Sunshine Dairy Foods Management, LLC
1. The undersigned moving party, _____________________________________________,                   filed a
Motion For Use of Cash Collateral To Obtain Credit (check one). A copy of the motion is attached;
and it includes (i) the statement required by Local Form #541.5, and (ii) the following allegations:
        a. The immediate and irreparable harm that will come to the estate pending a final hearing is
        To ensure the Debtor maintains appropriate cash reserves to fund business operations, including
        _____________________________________________________________________________
        ____________________________________________________________________________.
        payroll obligations and funding for materials.

    b. The amount of cash collateral credit (check one) necessary to avoid the harm detailed
above prior to the final hearing is __________________________________________________.
                                     $6,465,274.00

2.      The name and service address of the moving party's attorney (or moving party, if no attorney) are:
   ____________________________________________________________________________.
 Douglas R. Ricks, Vanden Bos & Chapman, LLP, 319 SW Washington St., Ste. 520, Portland, OR 97204

3. A PRELIMINARY HEARING on the motion WILL BE HELD ON ____________     05/11/18          3:30 pm
                                                                                    AT ___________
IN _______________________________________________________________________________.
   Courtroom No. 1, U.S. Bankruptcy Court, 1001 SW 5th Ave., Ste. 700, Portland, OR 97204
Testimony will be received if offered and admissible.

4. If you wish to object to the motion, you must do one or both of the following: (1) attend the
preliminary hearing; and/or (2) file with the Clerk of Court (i.e., if the 5-digit portion of the Case No. begins
with “3" or “4", mail to 1001 SW 5th Ave #700, Portland OR 97204; OR if it begins with “6" or “7", mail to
405 E 8th Ave #2600, Eugene OR 97401), a written response, which states the facts upon which you will
rely and, if the response is filed within three business days before the hearing, notify the judge’s
chambers by telephone immediately after filing the document, as required by LBR 9004-1(b).

5. On ________
           05/10/18 copies of this notice and the motion were served pursuant to FRBP 7004 on the
debtor(s); any debtor's attorney; any trustee; any trustee's attorney; members of any committee elected
pursuant to 11 U.S.C. §705; any creditors' committee chairperson [or, if none serving, on all creditors
listed on the list filed pursuant to FRBP 1007(d)]; any creditors' committee attorney; the U.S. Trustee; and
all affected lien holders whose names and addresses used for service are as follows:
See Attached List.




                           /s/Douglas R. Ricks                                                   #044026
                          Signature of Moving Party or Attorney                                  OSB #
                          ______________________________________________________________
                           801 NE 21st Ave., Portland, OR 97232 -- XX-XXX6415
                          (If debtor is movant) Debtor’s Address & Taxpayer ID#(s) (last 4 digits)
541.1 (6/1/15)


                             Case 18-31644-pcm11         Doc 13     Filed 05/10/18
In re Sunshine Dairy Foods Management, LLC;
Bankruptcy Case No. 18-31644-pcm11
Service List

Debtor:                                  First Business Capital Corp.     Stiebrs Farms, Inc.
                                         Attn: Mark Buchert, VP-          c/o Dianna Stiebrs
Sunshine Dairy Foods Management, LLC     Account Executive                PO Box 598
Attn: Norman Davidson, III               401 Charmany Dr                  Yelm, WA 98597
801 NE 21st Ave.                         Madison, WI 53719
Portland, OR 97232                                                        Tetra Pak
                                         Grupo Phoenix                    c/o Bill Ballew
20 Largest Unsecured Creditors:          c/o Karen Alvarado               DEPT CH 10803
                                         18851 NE 29th Ave, Suite 601     Chicago, IL 60055-0803
Andersen Plastics                        Aventura, FL 33180
c/o Linda Erickson                                                        Valley Falls Farm, LLC
PO Box 310                               High Desert Milk, Inc.           c/o Kaye N. Barnes
Battle Ground, WA 98604-0310             c/o Steven Tarbet                18555 SW Teton Ave
                                         1033 Idaho St                    Tualatin, OR 97062
Bev Cap Management, LLC                  Burley, ID 83318
c/o Michelle Cummings                                                     Valley Falls Farm, LLC
120 W Virginia St Suite 200              Larsen's Creamery, Inc.          c/o Keystone-Pacific, LLC
Mckinney, TX 75069                       c/o Melody Librande              Kaye N. Barnes, RA
                                         16940 SE 130th Avenue            9955 SW Potano St.
Boon Chapman                             Clackamas, OR 97015              Tualatin, OR 97062
c/o Grabielle Rico
9401 Amberglen Blvd                      LTI, Inc.                        Lien Holders:
Austin, TX 78729                         c/o Karen McKinnon
                                         PO Box 34206                     Citibank, N.A.
Country Lane Dairy                       Seattle, WA 98124-1026           388 Greenwich St., 25th Flr,
c/o Kaye N. Barnes                                                        Mail Drop 7
18555 SW Teton Ave                       Mayfield Farms, LLC              New York, NY 10013
Tualatin, OR 97062                       c/o Kaye N. Barnes
                                         18555 SW Teton Ave               Citibank, NA
Country Lane Dairy                       Tualatin, OR 97062               c/o Barbara Desoer - CEO
c/o Keystone-Pacific, LLC                                                 701 East 60th Street North
Kaye N. Barnes, RA                       Mayfield Farms, LLC              Sioux Falls, SD 57104
9955 SW Potano St.                       c/o Keystone-Pacific, LLC
Tualatin, OR 97062                       Kaye N. Barnes, RA               First Business Capital Corp.
                                         9955 SW Potano St.               401 Charmany Dr.
Danisco USA, Inc                         Tualatin, OR 97062               Madison, WI 53719
c/o Daniel Usieto
PO Box 32020                             Pacific Foods Of Oregon, Inc.    First Business Capital Corp.
New York, NY 10087-2020                  c/o Ginger Pielage               c/o Chuck Batson, President & CEO
                                         19480 SW 97th Ave                401 Charmany Dr
Domino Foods, Inc.                       Tualatin, OR 97062               Madison, Wi 53719
c/o Alessia Zalambani
PO Box 79066                             Portland Water Bureau            Elm Services
City of Industry, CA 91716-9066          Attn: Customer Svc -             PO Box 15270
                                         Bankruptcy                       Irvine, CA 92623-5270
Ernest Packaging Solutions               PO Box 4216
c/o Monique Gonzales                     Portland, OR 97208-4216          EverBank Commercial Finance, Inc.
9255 NE Alderwood Rd.                                                     10 Waterview Blvd.
Portland, OR 97220                       QCS Purchasing, LLC              Parsippany, NJ 07054
                                         c/o Mary DeMarco
                                         PO Box 87618                     EverBank Commercial Finance, Inc.
                                         Chicago, IL 60680-0618           c/o Frederick Wolfert, CEO
                                                                          10 Waterview Blvd.
                                                                          Parsippany, NJ 07054




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In re Sunshine Dairy Foods Management, LLC;
Bankruptcy Case No. 18-31644-pcm11
Service List

Banc of California, NA                     Electronic Mail:
18500 Von Karman Ave.
Ste 1100                                   The foregoing was served on
Irvine, CA 92612                           all CM/ECF participants
                                           through the Court's Case
Banc of California, NA                     Management/ Electronic Case
c/o Doug Bowers, CEO                       File system.
3 Macarthur Place
Santa Ana, CA 92707

ADS Group
PO Box 15270
Irvine, CA 92623

TCF Equipment Finance
11100 Wayzata Blvd. #801
Minnetonka, MN 55305

TCF Equipment Finance
c/o Gary A. Peterson, President/CEO
11100 Wayzata Blvd. #801
Minnetonka, MN 55305

Strada Capital Corporation
23046 Avenida de la Carlota,
Ste 350
Laguna Hills, CA 92653;

Strada Capital Corporation
c/o Christopher Parsons, R.A.
23046 Avenida de la Carlota,
Ste 350
Laguna Hills, CA 92653

LCA Bank Corporation
1375 Deer Valley Drive, Ste. 218
Park City UT 84060

LCA Bank Corporation
c/o Thomas T. Billings, Registered Agent
15 West South Temple Ste 1700
Salt Lake City, UT 84101

Multnomah Assessment & Taxation
501 SE Hawthorne,1st Floor
P.O. Box 5007
Portland, OR 97208

Multnomah County Tax Assessor Attn
Angelika Loomis, Agent
PO Box 2716
Portland, OR 97208-2716




                         Case 18-31644-pcm11         Doc 13    Filed 05/10/18
      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4861
      Fax: 503-241-3731

      Of Attorneys for Debtor-in-Possession

      Nicholas J Henderson, OSB #074027
      MOTSCHENBACHER & BLATTNER LLP
      117 SW Taylor St., Ste. 300
      Portland, OR 97204
      Telephone: 503-417-0508
      Fax: 503-417-0528
      Email: nhenderson@portlaw.com

      Of Attorneys for Karamanos Holdings, Inc.
      (Proposed Joint Debtor-in-Possession – Motion Pending)


                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                                       18-_____
                                                         Case No. ___ 31644-pcm11
                                                                           ______ _

       Sunshine Dairy Foods Management, LLC,             JOINT MOTION FOR INTERIM
                                                         ORDER AUTHORIZING USE OF
                                                         CASH COLLATERAL OF DEBTORS-
                                                         IN-POSSESSION AND GRANTING
                      Debtor-in-Possession               ADEQUATE PROTECTION

               Debtor-in-Possession Sunshine Dairy Foods Management, LLC (“Sunshine”) and

      Karamanos Holdings, Inc. (“Karamanos”) (Proposed Joint Debtor-in-Possession – Motion

      Pending) (collectively “Debtors”), pursuant to Sections 105(a) and 363 of the Bankruptcy

      Code, Bankruptcy Rule 4001, and LBR 4001-1.D., move the Court for entry of an interim

      order authorizing use of cash collateral as defined by §363(a) of the Bankruptcy Code

      ("Cash Collateral"), and, in support, represent and state as follows:




Page 1 of 8    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF               VANDEN BOS & CHAPMAN, LLP
                                                                                          Attorneys at Law
               CASH COLLATERAL OF DEBTORS-IN-POSSESSION AND                      319 SW Washington Street, Suite 520
                                                                                    Portland, Oregon 97204-2690
               GRANTING ADEQUATE PROTECTION                                                (503) 241-4869

                          Case 18-31644-pcm11       Doc 13    Filed 05/10/18
              1.    On May 9, 2018 (the “Petition Date”), Debtors commenced a reorganization

      case by the filing of a voluntary petition under Chapter 11 of the United States Bankruptcy

      Code.

              2.    Pursuant to §§ 1107 and 1108 of the Code, Debtors are authorized to

      possession of Debtors’ property and to operate and manage Debtors’ business as debtors-

      in-possession.

                                           DEBTORS' BUSINESS

              3.    Sunshine is a limited liability company headquartered in Portland, Multnomah

      County, Oregon. Karamanos is an Oregon corporation headquartered in Portland,

      Multnomah County, Oregon. Debtors are in the business of manufacturing, packaging, and

      distributing dairy, non-dairy, and other related food products throughout the United States of

      America. The Debtors are the successor entity to the dairy delivery business founded in

      1935 by John Karamanos. Debtors’ operations employ over 100 individuals (including

      salaried and hourly employees) in the Portland area at two production locations. Debtors’

      business depends on the daily delivery of fresh food products to restaurants, retailers, and

      other customers, which would be greatly jeopardized by any delay in the Debtors’

      operations.

                    PARTIES WITH POTENTIAL INTERESTS IN CASH COLLATERAL

              4.    The following entities ("Lien Creditors") may claim a lien in the Cash Collateral

      based upon the security interest held by the Lien Creditor for the following collateral:

      ///
      ///
      ///
      ///


Page 2 of 8    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF                 VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
               CASH COLLATERAL OF DEBTORS-IN-POSSESSION AND                        319 SW Washington Street, Suite 520
                                                                                      Portland, Oregon 97204-2690
               GRANTING ADEQUATE PROTECTION                                                  (503) 241-4869

                           Case 18-31644-pcm11        Doc 13    Filed 05/10/18
                                      Loan No.
                                        (last 4
                   Lien                digits) /       Amount           Property            Brief Collateral
                 Creditor             UCC No.           Owing             Value               Description
       Citibank, N.A.                 8248701         Unknown.          $2,568.00    All right, title and interest
       388 Greenwich St., 25th Flr,                   Believed to                    of Debtor in and to all
       Mail Drop 7                                     be $-0-                       accounts and all other
       New York, NY 10013                                                            forms of obligations
                                                                                     (“Accounts Receivable”)
                                                                                     owing to Supplier by
                                                                                     Compass Group- USA,
                                                                                     Inc.
       First Business Capital Corp.   91352308        $9,027,482       $12,740.00*   All Assets wherever
       401 Charmany Dr.                                                              located.
       Madison, WI 53719
      *Property value includes only real estate values, full collateral value is substantially higher.
              5.   Other than the Lien Creditors noted above, Debtors are not aware of any parties

      holding an interest in Cash Collateral. The parties below have filed UCC financing

      statements with the Oregon Secretary of State, but Debtors contend none of the parties

      below have an interest in the Cash Collateral:

                                                  Loan No.
                        Lien                   (last 4 digits)
                       Creditor                  / UCC No.              Brief Collateral Description
         Elm Services                            90451311,          All equipment and personal
         PO Box 15270                            90548548           property, including but not limited
         Irvine, CA 92623-5270                                      to furniture, fixtures and
                                                                    equipment.
         EverBank Commercial Finance, Inc.         90718706-1       Blanket Security Agreement by
         10 Waterview Blvd.                                         Assignment from Summit Funding
         Parsippany, NJ 07054                                       Group
         Banc of California, NA                    90963365         All equipment and personal
         18500 Von Karman Ave.                     90963776         property, including but not limited
         Ste 1100                                                   to furniture, fixtures and
         Irvine, CA 92612                                           equipment.
         ADS Group                                 91069271         All equipment and personal
         PO Box 15270                                               property, including but not limited
         Irvine, CA 92623                                           to furniture, fixtures and
                                                                    equipment.
         TCF Equipment Finance                     91069288-        All equipment and personal
         11100 Wayzata Blvd. #801                  9106288-1        property, including but not limited
         Minnetonka, MN 55305                                       to furniture, fixtures and
                                                                    equipment by Assignment from
                                                                    Balboa Capital Corporation.




Page 3 of 8    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF                        VANDEN BOS & CHAPMAN, LLP
                                                                                                   Attorneys at Law
               CASH COLLATERAL OF DEBTORS-IN-POSSESSION AND                               319 SW Washington Street, Suite 520
                                                                                             Portland, Oregon 97204-2690
               GRANTING ADEQUATE PROTECTION                                                         (503) 241-4869

                           Case 18-31644-pcm11          Doc 13        Filed 05/10/18
                                                 Loan No.
                         Lien                 (last 4 digits)
                       Creditor                 / UCC No.           Brief Collateral Description
         Strada Capital Corporation             91362566        Co-Secured Party with LCA Bank
         23046 Avenida de la Carlota,                           Corporation. All equipment and
         Ste 350                                                personal property, including but
         Laguna Hills, CA 92653;                                not limited to furniture, fixtures and
                                                                equipment
         LCA Bank Corporation                  91362566         Co-Secured Party with Strada - All
         1375 Deer Valley Drive, Ste. 218                       equipment and personal property,
         Park City UT 84060                                     including but not limited to
                                                                furniture, fixtures and equipment
         Multnomah County Tax Collector        91493028         Machinery & Equipment Acct.
                                                                R657806 for tax year 2017/18
         Multnomah County Tax Collector        91493028         Machinery & Equipment Acct.
                                                                R657804 for tax year 2017/18
         Multnomah County Tax Collector        91492965         Machinery & Equipment Acct.
                                                                R646168 for tax year 2017/18
         Multnomah County Tax Collector        91495871         Machinery & Equipment Acct.
                                                                R657804 for tax year 2017/18


              6.   To preserve the value of Debtors’ business as a going concern, Debtors require

      the use of the accounts receiveable and cash generated from Debtors’ business to pay

      Debtors’ operating expenses

              7.   Debtors require the use of Cash Collateral to make reasonable and necessary

      payments related to the Debtors’ business including, but not limited to, raw material

      suppliers, ingredient suppliers, re-sale item suppliers, employee payroll with benefits,

      utilities, leases, transportation costs, and packaging costs.

              8.   In order to formulate a plan of reorganization, Debtors require the use of Cash

      Collateral for the payment of operating expenses. Debtors propose to use Cash Collateral

      of $6,465,274.00 over the period commencing May 9, 2018 through June 22, 2018, on the

      terms set forth in the proposed Interim Order Authorizing Use of Cash Collateral attached

      hereto as Exhibit A. Debtors projected 44-day operating expense budget is attached to

      Exhibit A marked Exhibit 1 (the “Budget”) (a 120-day budget to be provided on or before


Page 4 of 8    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF                      VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
               CASH COLLATERAL OF DEBTORS-IN-POSSESSION AND                             319 SW Washington Street, Suite 520
                                                                                           Portland, Oregon 97204-2690
               GRANTING ADEQUATE PROTECTION                                                       (503) 241-4869

                          Case 18-31644-pcm11        Doc 13       Filed 05/10/18
      Debtors’ Notice and Motion for Final Order). Such Cash Collateral includes, but is not

      limited to, any uncashed checks made payable to the Debtors and cash collateral in

      possession of a Lien Creditor or an agent for a Lien Creditor on the Petition Date.

              9.   Debtors have made reasonable efforts to secure alternative financing. Debtors

      are unable to obtain necessary financial accommodations for the expenses shown in

      Exhibit 1 from any source.

              10. After reasonable efforts, Debtors are unable, pursuant to §364(a) or (b), to

      obtain unsecured credit allowable under §503(b)(1) as an administrative expense.

              11. Allowing Debtors to use Cash Collateral on the terms set forth in the proposed

      Preliminary Order Authorizing Use of Cash Collateral attached hereto as Exhibit A will

      maximize the value of the Debtors’ assets for the estate, will increase the probability of

      successful reorganization, and is in the best interests of the creditors and this estate.

              12. Without the use of Cash Collateral, Debtors have insufficient funds to meet

      Debtors’ expenses as itemized in Exhibit 1. Debtors have an immediate need for Cash

      Collateral to pay Debtors’ operating expenses, including payments for improvements,

      provide deposits to utilities as needed under 11 U.S.C. §366 and make adequate protection

      payments, all of which will preserve the value of Debtors’ business.

              13. The proposed order on this motion does not contain any of the "disfavored

      provisions" listed in LBF #541.7.

                        PROPOSED TERMS OF CASH COLLATERAL ORDER

              14. Debtor further proposes that Debtors’ authority to use Cash Collateral be limited

      to the cumulative amounts and uses of Cash Collateral as set forth in the Budget; provided

      however, that Debtors may make expenditures in excess of the amounts specified in the



Page 5 of 8    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF                VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
               CASH COLLATERAL OF DEBTORS-IN-POSSESSION AND                       319 SW Washington Street, Suite 520
                                                                                     Portland, Oregon 97204-2690
               GRANTING ADEQUATE PROTECTION                                                 (503) 241-4869

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      Budget subject to the limitation that the aggregate budget variance shall not exceed fifteen

      percent (15%) of any line item expenditures under the Budget for that Budget period.

                                  PROPOSED ADEQUATE PROTECTION

              15. Notwithstanding anything to the contrary contained in Section 552(a) of the

      Code, as adequate protection for, and to secure payment of, an amount equal to the

      aggregate diminution (from the Petition Date) in the value of the property of Debtors to

      which any of the liens of the parties identified in paragraph 4 herein shall have attached,

      and as security for and an inducement to said parties to permit use of Cash Collateral,

      Debtors propose to grant to each of them the following protection:

                     a. A replacement lien on all of the post-petition property of the same nature

                          and kind in which each of them has a pre-petition line or security interest.

                          The replacement liens shall have the same relative priority vis-a-vis one

                          another as existed on the petition date with respect to the original liens.

                     b. Debtors shall timely perform and complete all actions necessary and

                          appropriate to protect Lien Creditors' collateral against diminution in value.

                     c.   Subject to Debtors’ sole discretion, or if subsequently ordered by the Court

                          after notice and hearing, to commence making monthly payments of

                          interest only, calculated at the then applicable non-default rates, to each

                          Lien Creditor, beginning not later than the date that is 90 days after entry

                          of the Order for Relief, based on the value of each respective Lien

                          Creditor's interest in their respective collateral.

              A significant equity cushion is in and of itself sufficient adequate protection to support

      a debtor's request or use of cash collateral. See In re Mellor, 734 F2d 1396 (9th Cir, 1984)



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               CASH COLLATERAL OF DEBTORS-IN-POSSESSION AND                          319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
               GRANTING ADEQUATE PROTECTION                                                    (503) 241-4869

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      where the Court implied that an equity cushion of 10% is sufficient to adequately protect a

      secured creditor for use of the secured creditor’s cash collateral. Relying on Mellor, the

      Ninth Circuit Appellate Panel has found that adequate protection existed where an 11.45%

      equity cushion existed: See In re Boulders on the River, Inc., 164 B.R. 99 (9th Cir. B.A.P.

      1994).

               16. Here, the Lien Creditors enjoy a sufficient equity cushion to supply adequate

      protection for their interests. First Business Capital Corp. based solely on its real estate

      collateral, enjoys an equity cushion of 40% which is likely understated in light of the

      additional collateral pledged. This far exceeds the Mellor standard for an equity cushion.

      Therefore, First Business Capital Corp. is adequately protected. The other Lien Creditor,

      Citibank, N.A., does not appear, based on the Debtors’ records, to have an outstanding

      claim.

                                                  NOTICE

               17. No creditors' committee under §1102 of the Code has yet been appointed by the

      U.S. Trustee, but Debtors have given notice, as required by Bankruptcy Rule 4001, of this

      motion or pending requisite notice of such motion.

               WHEREFORE, Debtors move the Court for:

               1.   An Interim Order Authorizing the Use of Cash Collateral on the terms set forth in

      Exhibit A attached hereto and Granting Adequate Protection.

               2.   An Order setting a preliminary hearing on this motion upon such notice as the

      Court may direct pursuant to Bankruptcy Rule 4001(b)(3) to authorize the expenditures set

      forth on Exhibit 1 to this motion.




Page 7 of 9     JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF               VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
                CASH COLLATERAL OF DEBTORS-IN-POSSESSION AND                      319 SW Washington Street, Suite 520
                                                                                     Portland, Oregon 97204-2690
                GRANTING ADEQUATE PROTECTION                                                (503) 241-4869

                           Case 18-31644-pcm11       Doc 13    Filed 05/10/18
              3.   That the Order and each of its terms shall be effective immediately upon entry

      by the Court and the automatic stay of judgment provisions of FRBP 8017(a) shall not apply;

              4.   An Order setting a final hearing after notice on a Motion for a Final Order on use

      of Cash Collateral, with such Motion filed not less than 24 days in advance of such final

      hearing.

              Dated: May 9, 2018

       MOTSCHENBACHER & BLATTNER LLP                      VANDEN BOS & CHAPMAN, LLP


       By:/s/Nicholas J. Henderson                        By:/s/Douglas R. Ricks
          Nicholas J. Henderson, OSB #074027                Douglas R. Ricks, OSB #044026
          Of Attorneys for Karamanos Holdings, Inc.         Of Attorneys for Sunshine Dairy Foods
                                                            Management, LLC




Page 8 of 8    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF               VANDEN BOS & CHAPMAN, LLP
                                                                                          Attorneys at Law
               CASH COLLATERAL OF DEBTORS-IN-POSSESSION AND                      319 SW Washington Street, Suite 520
                                                                                    Portland, Oregon 97204-2690
               GRANTING ADEQUATE PROTECTION                                                (503) 241-4869

                          Case 18-31644-pcm11       Doc 13    Filed 05/10/18
                             IN THE UNITED STATES BANKRUPTCY COURT

                                       FOR THE DISTRICT OF OREGON

       In re                                               Case No. 18-31644-pcm11

       Sunshine Dairy Foods Management, LLC,               INTERIM ORDER AUTHORIZING
                                                           USE OF CASH COLLATERAL
                        Debtor-in-Possession.

               THIS MATTER came before the Court on ___________ 2018 on the joint motion of

      Debtor-in-Possession, Sunshine Dairy Foods Management, LLC (“Sunshine”) and

      Karamanos Holdings, Inc. (“Karamanos”) (Proposed Joint Debtor-in-Possession – Motion

      Pending) (collectively “Debtors”), for interim authority to use cash collateral, due and

      adequate notice under the circumstances having been given, and the Court having heard

      the representations and argument of counsel, and being otherwise fully advised,

               The Court finds that:

               A.    On May 9, 2018 (the "Petition Date"), Debtors filed a voluntary petition for

      relief under Chapter 11 of the Bankruptcy Code (the "Code"). The Debtors continue in

      possession of Debtors’ property and management of Debtors’ businesses as


Page 1 of 8    INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL                 VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
                                                                                  319 SW Washington Street, Suite 520
                                                                                     Portland, Oregon 97204-2690
      Exhibit A - Page 1 of 11                                                              (503) 241-4869



                            Case 18-31644-pcm11      Doc 13    Filed 05/10/18
     debtors-in-possession, in accordance with 11 U.S.C. §§ 1107 and 1108. No trustee or

     examiner has been appointed. The Court has jurisdiction over this case under 28 U.S.C. §§

     157 and 1334. Venue of this case is properly in this District under 28 U.S.C. §§ 1408 and

     1409. This matter is a core proceeding under 28 U.S.C. §157(b), 11 U.S.C. §§ 105(a) and

     363 of the Code, FRBP 4001 and LBR 4001-1.D.

            B.     Without the use of Cash Collateral, Debtors assert they have insufficient funds

     to meet their expenses and other payments set forth in the Budget. Debtors assert there is

     an immediate need to use Cash Collateral to pay Debtors’ payroll and other operating

     expenses and to preserve the value of Debtors’ business.

            C.     Debtors assert they will suffer immediate and irreparable harm if Debtors are

     not permitted to use up to $6,465,274.00 for the period covering May 9, 2018 through June

     22, 2018, in the amount and for the purposes set forth in the Budget, to meet Debtors’

     necessary and ordinary course post-petition operating expenses prior to the time prescribed

     by FRBP 4001(b)(2) for a final hearing for authority to use Cash Collateral.

            D.     Debtors assert that the following creditors, (the “Lien Creditors”), appear to

     have security interest/liens upon the Cash Collateral as of the petition date:

                                       Loan No.
                                        (last 4
                  Lien               digits) / UCC    Amount        Property           Brief Collateral
                Creditor                  No.          Owing          Value              Description
      Citibank, N.A.                   8248701       Unknown.       $2,568.00   All right, title and interest
      388 Greenwich St., 25th Flr,                   Believed to                of Debtor in and to all
      Mail Drop 7                                     be $-0-                   accounts and all other
      New York, NY 10013                                                        forms of obligations
                                                                                (“Accounts Receivable”)
                                                                                owing to Supplier by
                                                                                Compass Group- USA,
                                                                                Inc.
      First Business Capital Corp.    91352308       $9,027,482 $12,740.00*     All Assets wherever
      401 Charmany Dr.                                                          located.
      Madison, WI 53719
     * Property value includes only real estate values, full collateral value is substantially higher.

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                                                                                               Attorneys at Law
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                                                                                         Portland, Oregon 97204-2690
                                                                                                (503) 241-4869

                          Case 18-31644-pcm11         Doc 13       Filed 05/10/18
           E.     Other than the Lien Creditors noted above, Debtors are not aware of any

     parties holding an interest in Cash Collateral. The parties below have filed UCC financing

     statements with the Oregon Secretary of State, but Debtors contend none of the parties

     below have an interest in the Cash Collateral:

                   Lien             Loan No. (last 4
                 Creditor           digits) / UCC No.         Brief Collateral Description
       Elm Services                    90451311,        All equipment and personal property,
       PO Box 15270                    90548548         including but not limited to furniture,
       Irvine, CA 92623-5270                            fixtures and equipment.
       EverBank Commercial            90718706-1        Blanket Security Agreement by
       Finance, Inc.                                    Assignment from Summit Funding
       10 Waterview Blvd.                               Group
       Parsippany, NJ 07054
       Banc of California, NA          90963365         All equipment and personal property,
       18500 Von Karman Ave.           90963776         including but not limited to furniture,
       Ste 1100                                         fixtures and equipment.
       Irvine, CA 92612
       ADS Group                       91069271         All equipment and personal property,
       PO Box 15270                                     including but not limited to furniture,
       Irvine, CA 92623                                 fixtures and equipment.
       TCF Equipment Finance           91069288-        All equipment and personal property,
       11100 Wayzata Blvd. #801        9106288-1        including but not limited to furniture,
       Minnetonka, MN 55305                             fixtures and equipment by Assignment
                                                        from Balboa Capital Corporation.

       Strada Capital Corporation      91362566         Co-Secured Party with LCA Bank
       23046 Avenida de la                              Corporation. All equipment and
       Carlota, Ste 350                                 personal property, including but not
       Laguna Hills, CA 92653;                          limited to furniture, fixtures and
                                                        equipment
       LCA Bank Corporation            91362566         Co-Secured Party with Strada - All
       1375 Deer Valley Drive,                          equipment and personal property,
       Ste. 218                                         including but not limited to furniture,
       Park City UT 84060                               fixtures and equipment
       Multnomah County Tax            91493028         Machinery & Equipment Acct.
       Collector                                        R657806 for tax year 2017/18
       Multnomah County Tax            91493028         Machinery & Equipment Acct.
       Collector                                        R657804 for tax year 2017/18
       Multnomah County Tax            91492965         Machinery & Equipment Acct.
       Collector                                        R646168 for tax year 2017/18
       Multnomah County Tax            91495871         Machinery & Equipment Acct.
       Collector                                        R657804 for tax year 2017/18




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                                                                                             Attorneys at Law
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                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869

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            NOW, THEREFORE, it is ORDERED as follows:

            1.     Debtors are authorized to use Cash Collateral not to exceed $6,465,274.00 for

     the period covering May 9, 2018 through June 22, 2018 (the “Budget Period”), for the

     purposes specified in the Budget attached hereto as Exhibit 1. Debtors authority to use

     Cash Collateral is limited to the cumulative amounts and uses of Cash Collateral as set forth

     in the Budget; provided however, that Debtors may make expenditures in excess of the

     amounts specified in the Budget subject to the limitation that the budget variance shall not

     exceed fifteen percent (15%) of any line item expenditures under the Budget for the Budget

     Period.

            2.     Notwithstanding anything to the contrary contained in 11 U.S.C. §552(a), as

     adequate protection for, and to secure payment of, an amount equal to the diminution in the

     value, if any, of the Cash Collateral arising from Debtors’ use of the Cash Collateral post-

     petition, the UCC Lien Creditors are granted the following adequate protection:

                   a)     A replacement lien on collateral of the same nature, kind and priority as

                          existed on the Petition Date; provided, however, that such replacement

                          lien shall not attach to avoidance or recovery actions of Debtors’ estate

                          under Chapter 5 of the Code; and provided, further, that such

                          replacement lien shall be subject to all valid, properly perfected and

                          enforceable liens and interests that existed as of the Petition Date (such

                          property on which the replacement lien shall attach being referred to

                          herein as the "Replacement Collateral").

                   b)     The interests of the Lien Creditors in the Replacement Collateral shall

                          have the same relative priorities as the liens held by them as of the

                          Petition Date.

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                                                                                         Attorneys at Law
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                                                                                   Portland, Oregon 97204-2690
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                   c)      Debtors shall timely perform and complete all actions necessary and

                           appropriate to protect the Cash Collateral against diminution in value.

                   d)      If, notwithstanding the adequate protection provided by the terms of this

                           Order, any of the UCC Lien Creditors has a claim allowable under 11

                           U.S.C. §507(a)(2) arising from the stay of action against property of

                           Debtors under 11 U.S.C. §362, from the use, sale or lease of such

                           property under 11 U.S.C. §363, or from the granting of the replacement

                           lien granted herein, then such creditor’s claim under 11 U.S.C.

                           §507(a)(2) shall have priority over every other claim under such

                           subsection as provided by 11 U.S.C. §507(b).

            3.     This Order shall be deemed to constitute a security agreement under the

     applicable provisions of the Uniform Commercial Code (“UCC”) in effect in states where the

     Debtor (a) is domiciled, (b) operates its business, and (c) maintains its principal place of

     business. The Replacement Lien granted hereby shall be a valid, perfected and

     enforceable security interest and lien on the property of the Debtors and the Debtors’ estate

     without further filing or recording of any document or instrument or any other action, but only

     to the extent of the enforceability of Lien Creditors’ security interests in the Prepetition

     Collateral. Notwithstanding the foregoing, the Debtors are authorized and directed to

     execute and deliver to Lien Creditor(s) such financing statements, instruments and other

     documents as Lien Creditor(s) may deem necessary or desirable from time to time. To the

     extent necessary, the automatic stay in effect pursuant to 11 U.S.C. § 362 is hereby

     modified and lifted to permit the granting of the Replacement Lien as set forth herein.

            4.     Nothing in this Order shall be construed to (a) prejudice a right of any party in

     interest (including Debtors) to contest the validity, priority or extent of the liens or security

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                                                                                             Attorneys at Law
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                                                                                              (503) 241-4869

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     interests of any party in any collateral or in the proceeds thereof, as of, on or after the

     Petition Date; (b) grant a security interest in the debtor-in-possession or trustee's avoidance

     powers; (c) convert any pre-petition obligations into post-petition obligations; (d) require

     payment of any obligations on confirmation of a plan of reorganization; (e) alter, improve,

     limit or impair the rights, if any, of parties claiming to have rights of reclamation against

     Debtors, or Debtors’ assets or (f) enhance the secured position of any creditor as of the

     Petition Date.

            5.     Debtors are authorized to execute and deliver to the Lien Creditors such

     instruments considered by them to be necessary or desirable to perfect the security

     interests and liens given to them herein, and said parties are authorized to receive, file and

     record the same.

            6.     Nothing contained in this Order shall constitute a determination as to the

     amount, validity or priority of any pre-petition obligation, security interest or lien and all rights

     or parties in interest to claim that any pre-petition lien or security interest in Debtors’

     property is unperfected, unenforceable, invalid or voidable, are reserved. Additionally,

     nothing in this Order shall constitute an admission or acknowledgment by Debtors that any

     party has a valid or perfected lien in the cash of Debtors now existing or subsequently

     received, and the references herein to "Cash Collateral" is without prejudice to all rights,

     defenses and claims of Debtors to contend that any party does not have a perfected lien or

     security interest in such cash.

            7.     The provisions hereof and the effect of any actions taken hereunder shall

     survive issuance and entry of any order: (a) confirming any plan of reorganization or

     liquidation; (b) appointing a trustee or examiner for the Debtors; (c) converting Debtors’ case

     to one under Chapter 7 of the Code; or (d) dismissing Debtors’ case. The priorities, liens

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                                                                                              Attorneys at Law
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                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869

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     and security interests granted herein shall continue in these or any superseding cases

     under the Code, and any such liens and security interests shall maintain their priority as

     provided herein until satisfied and discharged subject to the Code.

            8.     In the event any or all of the provisions of this Order are hereafter modified,

     amended or vacated by a subsequent order of this or any other court, no such modification,

     amendment or vacation shall affect the validity and enforceability of any lien or priority

     authorized or created hereby. Notwithstanding any such modification, amendment or

     vacation, any claim granted hereunder arising prior to the effective date of such

     modification, amendment or vacation shall be governed in all respects by the original

     provisions of this Order.

            9.     This Order does not grant authority to the Debtors to pay any pre-petition

     obligation, expense, or debt or to pay any administrative expense claims under Section

     503(b)(9). Debtors may only pay such administrative expense claims upon further order of

     this Court after the filing of an appropriate motion and notice of the same.

            10.    The final hearing on Debtors' Motion shall be held in Courtroom __ of the

     United States Bankruptcy Court for the District of Oregon, 1001 SW Fifth Avenue, #700,

     Portland, Oregon 97204, on __________, 2018 at ___:___ __.m.

            A copy of this Order and Notice of the final hearing on Debtors’ Motion shall be

     served within two (2) days of entry of this Order pursuant to FRBP 7004 upon: (a) Debtors’

     20 largest unsecured creditors; (b) any known creditors claiming a security interest in or lien

     on Cash Collateral; (c) the U.S. Trustee; and (d) all persons who have requested notice

     pursuant to Bankruptcy Rule 2002. Objections, if any, to the relief requested in the motion

     shall be in writing, shall state the name of the objecting party and the nature of the claim or

     interest of such party, shall state with particularity the reasons for the objections to the relief

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                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869

                         Case 18-31644-pcm11         Doc 13     Filed 05/10/18
     requested, and shall be served upon counsel for Sunshine, Vanden Bos & Chapman, LLP,

     Attn: Douglas R. Ricks, 319 SW Washington St., Ste. 520, Portland, Oregon 97204, and

     Nicholas J Henderson, Motschenbacher & Blattner, LLP, 117 SW Taylor St., Ste. 300,

     Portland, Oregon 97204 and filed, together with proof of service, with the Court no later than

     the deadline provided in the Notice (LBF 541.1) which accompanies this Order when

     served.

                                                  ###

           I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).

     PRESENTED BY:


      VANDEN BOS & CHAPMAN, LLP                            First Class Mail:

                                                           See Attached List.

      By:/s/Douglas R. Ricks                               Electronic Mail:
        Douglas R. Ricks, OSB #044026
        Of Attorneys for Debtor-in-Possession              The foregoing was served on all CM/ECF
                                                           participants through the Court's Case
                                                           Management/Electronic Case File system.

      MOTSCHENBACHER & BLATTNER LLP


      By:/s/Nicholas J. Henderson
         Nicholas J. Henderson, OSB #074027
         Of Attorneys for Karamanos Holdings, Inc.




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                                                                                            (503) 241-4869

                        Case 18-31644-pcm11       Doc 13     Filed 05/10/18
                                                Sunshine Dairy Foods Management, LLC
                                                             DIP By Week

                                                              SUMMARY


                                     Short Week      Week          Week         Week         Week         Week               Week
                                      5/10/2018    5/14/2018     5/21/2018    5/28/2018    6/4/2018     6/11/2018          6/18/2018
    Bank Balance                        496,206       575,459      459,209      406,959     381,209         343,459            312,209

    Collections                         250,000       925,000    1,075,000      975,000    1,200,000      1,000,000            875,000
    Payments:
    Raw Material Suppliers                  -         238,500      414,500      238,500      388,500        238,500              87,000
    Ingredient Suppliers                 20,000        75,000       82,000       75,000       82,000          75,000             82,000
    Resale Item Suppliers                40,000       100,000      100,000      100,000      100,000        100,000            100,000
    Employee Payroll and Benefits        10,497       198,000      203,500      198,000      280,000        198,000            250,000
    Utilities                               -          45,500        9,000        5,000       69,000          35,500            19,000
    Leases                                  -             -         25,000          -         25,000               -            25,000
    Transportation                          -          15,000       15,000       15,000       15,000          15,000            15,000
    Packaging, QA and Other             100,250       369,250      278,250      369,250      278,250        369,250            278,250
    Total Disbursements                 170,747     1,041,250    1,127,250    1,000,750    1,237,750      1,031,250            856,250
    Increase (decrease) in Cash          79,253      (116,250)     (52,250)     (25,750)     (37,750)        (31,250)           18,750
    Beginning Cash                      496,206       575,459      459,209      406,959     381,209         343,459            312,209

    Ending Cash                         575,459       459,209      406,959      381,209     343,459         312,209            330,959

    Past Due
    Current
    Total

    Increase decrease in cash
    ending cash for week.




Exhibit A - Page 9 of 11                                                                                2018 - Cash Forecast by Week-Cash Collateral Budget 05 09 18
                                                                                                                                                              1 of 1
Exhibit 1 - Page 1 of 3
                                  Case 18-31644-pcm11                 Doc 13            Filed 05/10/18
                                                                          Sunshine Diary Foods Management, LLC
                                                                                    DIP Cash Forecast

                                                                Shrt Week     Week         Week         Week         Week        Week           Week
                                                                5/10/2018   5/14/2018    5/21/2018    5/28/2018    6/4/2018    6/11/2018      6/18/2018
                               Bank Balance                       496,206      575,459      459,209      406,959     381,209      343,459        312,209
                               Collections                        250,000      925,000    1,075,000      975,000   1,200,000    1,000,000        875,000
                               Available                          746,206    1,500,459    1,534,209    1,381,959   1,581,209    1,343,459      1,187,209
                               Payments by Vendor:
                               Raw Material Suppliers:
                                Subtotal:                             -        238,500      414,500     238,500      388,500     238,500            87,000




Exhibit 1 - Page 2 of 3
                        11
                               Ingredient Suppliers:




Exhibit A - Page 10 of Case
                                Subtotal:                          20,000       75,000       82,000      75,000       82,000      75,000            82,000
                               Resale Item Suppliers:
                                Subtotal:                          40,000      100,000      100,000     100,000      100,000     100,000          100,000
                               Employee Payroll and Benefits:
                               FBB Health Checks Released           6,914      108,000         -        108,000          -       108,000              -
                               Guardian/VSP/AFLAC                     -         20,000         -         20,000          -        20,000              -
                               Payroll                                -            -       126,000          -        180,000         -            160,000




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                               Payroll Taxes                          -            -        52,500          -         75,000         -             65,000
                               Pension / Teamsters                    -         45,000         -         45,000          -        45,000              -
                               Providence/Boon Chapman              3,583          -           -            -            -           -                -




              Doc 13
                               Pre-filing Payroll and Bens
                               Other Payroll and Benefits             -         25,000       25,000      25,000       25,000      25,000           25,000
                                Subtotal:                          10,497      198,000      203,500     198,000      280,000     198,000          250,000
                               Utilities:
                               IGI                                    -            -          7,000         -            -           -               7,000
                               NW Natural                             -          3,000          -         3,000          -         3,000               -
                               Pacific Power                          -         10,000          -           -            -           -              10,000




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                               PGE                                    -         26,500          -           -            -        26,500               -
                               Portland Disposal                      -          4,000          -           -            -         4,000               -
                               Portland Water                         -            -            -           -         67,000         -                 -
                               Other Utilities                        -          2,000        2,000       2,000        2,000       2,000             2,000
                                Subtotal:                             -         45,500        9,000       5,000       69,000      35,500            19,000




                                                                                                                                     2018 - Cash Forecast 6-Cash Collateral Budget 05 09 18
                                                                                                                                                                                     1 of 2
                                                                        Sunshine Diary Foods Management, LLC
                                                                                  DIP Cash Forecast

                                                              Shrt Week     Week          Week         Week         Week         Week          Week
                                                              5/10/2018   5/14/2018     5/21/2018    5/28/2018    6/4/2018     6/11/2018     6/18/2018
                               Leases:
                               DC Lease                             -            -            -            -           -             -                -
                               Penske                               -            -            -            -           -             -                -
                               Other Leases                         -            -         25,000          -        25,000           -             25,000
                                Subtotal:                           -            -         25,000          -        25,000           -             25,000
                               Transportation:




Exhibit 1 - Page 3 of 3
                               LTI                                  -         15,000       15,000       15,000      15,000        15,000           15,000




                        11
                               Other Transportation                 -            -            -            -           -             -                -




Exhibit A - Page 11 of Case
                                Subtotal:                           -         15,000       15,000       15,000      15,000        15,000           15,000
                               Packaging, QA and Other:
                               AMEX                                 -            -            -            -            -            -               -
                               Andersen Plastics                  6,750        6,750        6,750        6,750        6,750        6,750           6,750
                               Bank Direct/IPFS                     -            -            -            -            -            -               -
                               BevCap-Insurance                     -            -            -            -            -            -               -




              18-31644-pcm11
                               Electric Inc                       1,500        1,500        1,500        1,500        1,500        1,500           1,500
                               Ernest                            20,000       20,000       20,000       20,000       20,000       20,000          20,000
                               Groupo Phoenix                       -         91,000          -         91,000          -         91,000             -
                               QCS                               10,000       20,000       20,000       20,000       20,000       20,000          20,000




              Doc 13
                               Tetra Pak                         12,000        5,000        5,000        5,000        5,000        5,000           5,000
                               US Trustee Fees (Qrtly + 30)         -            -            -            -            -            -               -
                               Other ACH / Wires                    -            -            -            -            -            -               -
                               Other checks                      50,000      225,000      225,000      225,000      225,000      225,000         225,000
                                Subtotal:                       100,250      369,250      278,250      369,250      278,250      369,250         278,250
                               Total Disbursements              170,747    1,041,250    1,127,250    1,000,750    1,237,750    1,031,250         856,250




              Filed 05/10/18
                               Cummulative Difference           575,459      459,209      406,959      381,209     343,459       312,209         330,959
                               Collections - Disbursements       79,253     (116,250)    (128,750)     (25,750)     (37,750)     (31,250)          18,750




                                                                                                                                    2018 - Cash Forecast 6-Cash Collateral Budget 05 09 18
                                                                                                                                                                                    2 of 2
